                                                                        JAN 2   6 2016
                   IN THE UNITED STATES DISTRICT COURT        n
                  FOR THE NORTHERN DISTRICT OF GEORGIA|,,:*^^l>
                            ATLANTA DIVISION


   U N I T E D STATES OF A M E R I C A         WAIVER OF INDICTMENT

          V.                                   Criminal Action No.

   DANTE ANTIONE ROSSER                        1:18-CR-14



   I , DANTE ANTIONE ROSSER, the above named defendant, who is accused

of Title 18, United States Code, Section 2261A(2)(B) being advised of the nature

of the charge, the proposed information, and of my rights, hereby waive in open

court on January 26, 2018 prosecution by indictment and consent that the

proceeding may be by information rather than by indictment.




                                           DANTE ANTIONE ROSSER
                                           Defendant


                                           Nicole Kaplan
                                           Counsel for Defendant

Before
